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 2
 3                               UNITED STATES DISTRICT COURT

 4                                       DISTRICT OF NEVADA

 5

 6   UNITED STATES OF AMERICA,                        )
                                                      )
 7                          Plaintiff,                )   Case No. 2:09-CR-051O-PMP-RJJ
                                                      )
 8   vs                                               )   EX PARTE MOTION FOR ORDER
                                                      )   DIRECTING THE U.S. MARSHAL
 9   VENIAMIN LAOUGINE, et al.                        )   TO ARRANGE TRANSPORTATION
                                                      )
10                          Defendant.                )

11
      ------------------------~)
            COMES NOW Defendant,          VENIAMIN LAOUGINE , by and through counsel,         MACE
12
     J. YAMPOLSKY, ESQ. , and moves this Honorable Court for an Order directing the United
13
     States Marshal to arrange for the Defendant's non-custodial transportation from West Bloomfield,
14
     Michigan to Las Vegas, Nevada on or before Monday, August 16,2010 for the purpose of
15
     examination and testing by linguistics expert.
16
            This request is limited to payment of one-way transportation to the above-referenced court
17
     appearance only.
18
            DATED this _27th_ day of July, 2010.
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     Case 2:09-cr-00510-PMP-RJJ                    Document 61        Filed 07/28/10      Page 2 of 3



 1                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                       EX PARTE MOTION FOR ORDER
 2                           DIRECTING PAYMENT OF TRANSPORTATION EXPENSES

 3                 18 U.S.C. § 4285 authorizes the court to direct the U.S. Marshals Service to arrange for the

 4      eans of noncustodial transportation          of released indigent defendants to the place where their

 5     ppearance in court is required.
 6                 Pursuant to 18 U.S.C. § 4285, the Defendant will be financially unable to travel from his/her

 7     ome in West Bloomfield, Michigan to Las Vegas, Nevada unless this court directs the United States

 8       arshal to pay his/her transportation.

 9                 It has been determined by this Court that the defendant qualifies for the appointment of counsel

10     ursuant to 18 U.S.C. 3006A.
111~                                                                                                             _
121~                                                                                                             _

131~                                                                                                       .      _

141~                                                                                                              _
151~                                                                                                             _

16                             Pursuant to the District Court's memorandum order dated January 22, 1986, the

17 ollowing representations are made: (1) that the United States Attorney's office has not been provided

18      ith a copy of this motion; and (2) that this matter is not the proper subject of a stipulation.

19                 DATED this 27th day of --1!!ly, 2010.

20                                                        Respectfully submitted,
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       Ex ParteT    set I 3/13/2002                           2
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 1
                                                UNITED STATES DISTRICT COURT
 2
                                                        DISTRICT OF NEVADA
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 4 II UNITED STATES OF AMERICA,                                     )
                                                                    )
 S                                         Plaintiff,               ) CASE NUMBER 2:09-CR-OSI0-PMP-RJJ
                                                                    )
                                                                    )    ORDER DIRECTING U.S. MARSHAL
                                                                    )    TO ARRANGE TRANSPORTATION
 ~ II ~ENlAMlN                     LAOUGlNE, et aI.                 )
                                                                    )
 8 II                                      Defendant.               )

 9        ------~-----------------)
             Having reviewed the Defendant's Ex Parte Motion for Order Directing the U.S. Marshal to
10
11 .. Arrange Transportation for expert testing, and good cause appearing therefor:

                        IT IS HEREBY ORDERED that the United States Marshal shall arrange one-way
12
          transportation for defendant, VENIAMIN LAOUGINE , to travel from WEST BLOOMFIELD,
1311
          MICHIGAN                   to LAS VEGAS, NEVADA               on or before August 16, 2010 for the purpose of
14   II



          examination and testing with linguistics expert.
IS ..
                        This Order is limited to payment of one-way transportation to the above-referenced court
16


                                          _____     day
                                             28th day     of 2010
                                                      of July,                          ,2010.




                                                                     U.S. DISTRICT
                                                                    PHILIP           / MAGISTRATE
                                                                           M. PRO, U.S. DISTRICT JUDGEJUDGE




          Ex Pane Trans set I 311312002                                   3
